                        Case 4:23-cv-04155-YGR           Document 480            Filed 04/22/25      Page 1 of 15

TRULINCS 03260180 - ELLIS, PRISCILLAANN - Unit: WAS-D-A


FROM; 03260180
TO:
                                                                                                        /r>
SUBJECT: Injunction Motion #1
DATE: 04/04/2025 02:45:36 PM
                                                                                  S€^^ 7^                     J^
IN THE UNiTED STATES DISTRICT COURT FOR THE\                                                                          d7/ss-
MINNESOTA DISTRICT


Priscilla A. Ellis
inmate Reg # 03260-180
            Plaintiff                             INJUNCTION IJRO
                                                  CIVIL NO:



                                                                                                                !?y
Federal Bureau of Prisons Employee
Unit Manager C. Parrent
Waseca Federal Correctional Institute employee

Plaintiff Hereby request this HONORABLE Court to issue an immediate Preliminary injunction/"1^0 to STOP prevent Unit
Manager C. Parrent from entering Waseca Federai Correctional Institute premises whiie Inmate Priscilla Ellis with Reg #03260-
180 is housed there under ANY CAPACITY, whether General Population or otherwise which wili prevent him from causing
further Physicai injuries from Physical harm , sexual harassment and other physical abuse which left bruises on Plaintiff(see
attached Witness statements).

Piaintiff meet ali 4 criteria's pertaining to a preliminary injunction / TRO pursuant to Ruie 65 of Federal Rules of Civil procedure.

1. Evidence will proceed proceed @ trial to support the fact that defendant C. Parrent violated PlaintifTs rights and safety and
her well being of being free from physicai abuse, verbal abuse, sexual abuse and to be safe and secure in the Walls of Waseca
Federal Correctional institute from Staff /inmate abuse

2. Plaintiff is likely to suffer more irreparable harm if preliminary injunction is not received.

Defendant C. Parrent has already caused Grave physical injuries by physically assaulting/ attacking plaintiff in his office on
3/3/2025, evident witness statements attached who witnessed bruises.
                                                                                                                      .   .   .   .




3. Plaintiff faces a Greater Harm from Prison Unit Manager C. Parrent, as he FREELY walks the compound while investigation
play^ut, and can come into contact with Inmate Ellis to cause more physical injuries /sexual assault at his will without any
restraints, , anytime, anywhere at anytime on Waseca Federai Correctional Institution grounds where inmate Ellis is housed,
meaning that Mr C. Parrent can cause further Harm constituting to more physical injuries and mentai and emotional abuse as
well.


PLAINTIFF saw C. Parrent on 3 April 2025 in Center Hail( evidence camera footage around 11:30 am and he was smirking at
Plaintiff as he was talking to another inmate and this made Plaintiff feel violated again, unsafe and mentally and emotionally
under attach with no control of her surroundings.

4. Preliminary Injunctions will serve the Public's interest, as the Plaintiffs accountability is to the Public as well as the Public is
interested in all AlC's in custody being SAFE from STAFF AND INMATE abuse in reference to ALL HARM and abuse to include
sexual and physical assaults such as what C. Parrent indulged himself against plaintiff.

A Preiiminary injunction is appropriate as the Harm that plaintiff faced from the defendant Mr C. Parrent is ongoing and engaged
as long as he wanders freely around on the Waseca FCI compound while investigation continues as well as the results of
Plaintiff seeking criminal charges against C. Parrent.

The Supreme Court, in Lewis v Casey 518 U.S. 343( 1996) stated that a Prisoner must only show " actual imminent
injury"(see attached statements)(2) with more to come from witnesses that acknowledged the injuries immediately after the
event of within the following days of the physical assault.

Plaintiff received PHYSICAL INJURIES, although to request an injunction, plaintiff only need to show that she /he will be worse
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TRULINCS 03260180 - ELLIS, PRISCILLA ANN - Unit: WAS-D-A


off due to the illegal acts of the prison staff/inmate or person carrying out the physical, mental or sexual abuse.

Plaintiff is already in Prison as an Actual innocent victim as a Honorable Army Veteran being used as a scapegoat for the crime
of others, and should not have to consistently be subjected to sexual Harassment, physical assaults, physical abuse which
causes physical injuries as well as mental and emotional injuries AND scars.

Granting the injunction is necessary to correct / STOP ongoing violation of plaintiff;s rights to be SAFE in custody from
PHYSICAL , SEXUAL and VERBAL ABUSE from Staff as well as inmates.

Unit Manager 0. Parrent should not be walking around on compound as to say that he is ABOVE the law, and is still working
which continue to put inmate in imminent harm from his physical , sexual verbal assaults' and abuse.

Plaintiff is requesting this HONORABLE Court /Clerk to issue and GRANT a TRO until the Injunction can be heard. Plaintiff
does meet ALL requirements for a TRO pursuant to Rule 65 of the Federal Rules of Civil Procedures.

Plaintiff qualifies under the Violence Against Women Act, 18 U.S.G. 2246 and wishes to File criminal charges for the PHYSICAL
Assault by Unit Manager 0. Parrent. The Bruises were so extensive and embedded, until they were visible on Plaintiffs Flesh
for well over 3 weeks prior to totally fading away. Neither Lieutenant Tarrant nor Nurse Peterson would take a picture o the
bruise, both claiming the other would take the pictures. Neither did SIA Rice, as the bruise was also displayed to him as well as
Psychologist Turner in conjunction to other inmates that witnessed it immediately AFTER the physical contact with Mr 0.
Parrent.


This is called Staff trying to cover for staffs corruption. Another staff member Ms. Lloyd told inmate Jodeci Holmes (Inmate
Reg # 59778-510 that she was accused of shaking an inmate, but because it was NOT on camera, it was dropped.

"Is this how they get away with things? If an inmate is accused of an infraction , not on camera, it's not dropped, why should a
staff member receive extra treatment? Right is right and wrong is wrong, no matter what Country/World that you exist.

An inmate should not be subjected to accept abuse form a staff member,just because they are an employee, it is a GRIME to
physically assault in or out of prison. Sexually, physically and in some cases verbally when it comes to harassment.

Mr Parrent's conduct of Physical assault while in an employee position is also Abuse of Color of State Law.

ALL Go-workers stick together as Ms Lloyd stated to Inmate Holmes Reg # 59778-510. Inmate Sadie Hackett can attest to Mr
Parrent's abuse. Inmate Destiny Duran, Inmate Cassandra Charity and others. There are plenty of witnesses and witness
statements to corroborate plaintiffs claims and request for the TRO/lnjunction.

Relief Requested:

Plaintiff is requesting hat the Court/Clerk issue an INJUNCTION or TRO to STOP Unit Manager Parrent from stepping foot on
the Institution of Waseca FCI while Plaintiff is housed there on this compound and to demand that Unit Manager C. Parrent
CEASE Harassment and physical violence and verbal assaults' and innuendos towards plaintiff immediately.

Plaintiff is also requesting the court to direct the AUSA in this jurisdiction to proceed with criminal charges against Unit Manager
C. Parrent for Physical Assault against plaintiff because she would not agree to his comments to "Suck his Dick"!

The Waseca FCI failed to keep Plaintiff safe from physical injury and therefore is seeking declatory relief from the court in form
of TRQZlflteRcti))n.



Priscilla A. Ellis
Pro-Se'
U.S. Army Veteran

D Unit
Waseca FCI
P.O. Box 1731
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TRULINCS 03260180 - ELLIS, PRISCILLA ANN - Unit: WAS-D-A


Waseca, MN 56093

Attachments: Written claim of PREA to OIA, Witness statements Confirming the Bruises from Assault.

CERTIFiCATESERVICE:

Mailed on 4A-2025 froraWVaseca FCI Mail room via certified delivery


Priscilla A. Ellis
U.S. Army Veteran
Pro-se'
                       Case 4:23-cv-04155-YGR          Document 480          Filed 04/22/25        Page 4 of 15

TRULINCS 03260180 - ELLIS, PRISCILLA ANN - Unit: WAS-D-A


FROM:03260180
TO:
SUBJECT: INJUNCTION
DATE: 04/04/2025 12:00:35 PM


IN THE UNITED STATES DISTRICT COURT FOR THE
MINNESOTA DISTRICT


Priscilla A. Ellis
           Plaintiff
                                         CIVIL ACTION No:


vs.



Federal Bureau of Prisons Employee
Unit Manager Parrent, Waseca FCI


Upon the complaint, the supporting affidavits of the Plaintiff, and the memorandum of law submitted herewith, it is;

ORDERED that defendants Unit Manager C. Parrent show cause in room                      of the United States Courthouse,

on the      day of       2025, at   o clock, why a preliminary injunction should not issue pursuant to Rule 65(a) of the Federal
Rules of Civil Procedure enjoining the defendants, their successors in office, agents and employees and all other persons
acting in concert and participation with them,from stepping foot on Waseca Federal Correction Institution and or physical
contact with Inmate Priscilla Ellis in a manner to cause her further Physical injuries. Mental anxiety and or emotional
harm/injuries.

IT IS FURTHER ORDERED that effective immediately and pending the hearing and determination of this order to show cause,
the defendants Unit Manager C. Parrent and each of their Officers, agents, employers, and all persons acting in concert or
participation with them, are restrained from physical contact with Inmate Priscilla Ellis, United States Honorable Army Veteran in
a manner to cause her further physical injuries. Mental anxiety and or emotional harm/injuries and must stop from entering the
compound I Federal Institution Waseca Federal Correctional Institute while Inmate Priscilla Ellis is housed there in any Capacity
General population or other means of housing/ Otherwise.

IT IS FURTHER ORDERED that the order to show cause , and all other papers attached to this application, be served on the
aforesaid plaintiffs/defendants immediately.


Judge_

Dated:


UNITED States District Judge
                    Case 4:23-cv-04155-YGR                Document 480         Filed 04/22/25        Page 5 of 15

TRULINCS 03260180 - ELLIS, PRISCILLAANN - Unit; WAS-D-A


FROM: 03260180
TO;
SUBJECT: Witness Statement
DATE:.04/03/20-2.5 10:23:49 AM

WITNESS STATEMENT

I      4 if/lid            r'/^witnessed the fresh Bruise on the arm of Mrs. Priscilla Ellis, on 3-3 through 3-14 2025.
The Braise was there after Mrs. Ellis was assaulted physically by Mr. Parrent, Unit Manager, throwing her out of his office.

Ms Ellis went to have a PREA evaluation done by Nurse Peterson whom told Ms. Ellis that the Lieutenant's Office would
take a picture of the Bruise, but the Lieutenant's office did not.

I am a witness that the Bruise was there and the only other person that Ms. Ellis came into contact with prior to the Bruise being
there is Unit Manager Parrent in his office.

I attest to the penalties of perjury that the above statements are true.


Print Name and Reg #


Signature




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TRULINCS 03260180 - ELLIS, PRISCILU ANN - Unit: WAS-D-A


FROM: 03260180
TO:
SUBJECT: Witness Statement
DATE: 04/03/2025 11:45:04 AM

WITNESS STATEMENT

                    \V      witnessed the fresh Bruise on the arm of Mrs. Prisciila Ellis, on 3-3 through 3-14 2025.
The Bruise was there after Mrs. Ellis was assaulted physically by Mr. Parrent, Unit Manager, throwing her out of his office.

Ms Ellis went to have a PREA evaluation done by Nurse Peterson whom told Ms. Ellis that the Lieutenant's Office would
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I am a witness that the Bruise was there and the only other person that Ms. Ellis came into contact with prior to the Bruise being
there is Unit Manager Parrent in his office.

I attest to the penalties of perjury that the above statements are true.

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Print'Name and Reg#            . '


Signaturelj
                   Case 4:23-cv-04155-YGR                           Document 480             Filed 04/22/25          Page 7 of 15


                                                                                                            FOR OFFICE USE OHLY-

                                                                                                            DATE RECEIVED:
                                                                                                            CASE NUMBER.:




                                                                     COMPLAINT
                ALLEGING FAHURE OF DEPARTMENT OF JUSTICE EMPLOYEE
                            TO PROVIDE RIGHTS TO A CRIME VICTIM UNDER
                                      THE CRIME VICTIMS'RIGHTS ACT OF 2004

     Return signedform, including additional pages or documents, to:
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                                                                                       Federal Burean of Prisons
                                                                                       320 First SL, NW,Room 600
                                                                                       Washington, DC 20534 ■
                                                                                                                                -^




            TMs Coniplaint form is not designed for the correction of specific victims' rights violations, but is instead to request
            corrective or disciplinary action against Department of Justice employees who may have failed to provide or have'
            violated the lighte of a crime victim under the Crime Victhns' Rights Act of2004. A crime victim includes any
            person who has been directly and proximately harmed as a result of the commission of a Federal offense or an
            offeree in flie District of Colun)b'ia_

            All-complamts must be submitted within sbcty (60') days of the victim's knowledge of a violation by the Department
            of Justice employee, but not more than one year afthr the actual violation. Receipt of complaiots will be
            acknowledged in wrifihg.                       ■            '

            The information provided herein will be used along with other information developed during the investigation to
            resolve or otherwise determine the merits of this complaint The information may be furnished to designated officers
            and employees G.f agencies md departments of the Federal Govermnent in order to resolve or otherwise determine
            the ments of this pomplaint'

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   Please chepi the box that applies to the person filing thig complaint .
            /
                     Victim                           □            Attorney r^resentmg victim
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                     Legal Guardian                   □            Other representative (describe)
            Name, phone number and relationship, to victim of person completing this form (if not the victim).
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/^O-C is the Victirn represented by an attorney in this complaint?                   jAVes           □ No
                                                                                                            ,r'r/yrrc/ .AA^-
           If yes, please provide the attorney's name and contact information. All future contacts with the victim regarding this
            complaint will be made through the attorney
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                         Case 4:23-cv-04155-YGR                           Document 480              Filed 04/22/25           Page 8 of 15




       First Name:"y^
                                                        Middle Name: /^/y/'^
                                                     Ms.




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    ADMINISTRATIVE REMEDY RESPONSE
    Log No: 1228729-F2


    I, Ellis, Priscilla, 03260-180 agree to informally resolve my Administrative Remedy
    number 1228729-F2




    Ellis, Priscilla, 03260-180                               Date




       A. Tarrant, Lieutenant                                  Date




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                                                                                                                    Page 13 of 15



                                                                                                                         WAS-1330,18d
                                                                                                                          Attachment A
                                                INFORMAL RESOLUTION ATTEMPT




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FOR STAFF

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                Waseca,MN &6083


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